        Case 8:20-mc-00020-JVS-ADS Document 2 Filed 09/11/20 Page 1 of 1 Page ID #:26
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 ATTORNEY(S) FOR:    William H. Shreve
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
WILLIAM H. SHREVE,                                                            CASE NUMBER:


                                                                                                    8:20-mc-00020
                                                              Plaintiff(s),
                                     v.
GUEST TEK INTERACTIVE
                                                                                             CERTIFICATION AND NOTICE
ENTERTAINMENT LTD.
                                                                                               OF INTERESTED PARTIES
                                                             Defendant(s)                          (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                                  William H. Shreve
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                   CONNECTION / INTEREST
William H. Shreve                                                             Movant




         September 11, 2020                                /s/ Justin J. Gillett
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           William H. Shreve


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
